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VIRGINIA:

IN THE CIRCUIT COURT FOR THE CITY OF ROANOKE
DANIEL GROTH t/a PENN FOREST SERVICES )

Plaintiff
COMPLAINT
v. Case No.:
FERRANDINO & SON, INC.
SERVE: Secretary of the Commonwealth
P.O. Box 2452
Richmond, VA 23218

Defendant
COMES NOW your Plaintiff, DANIEL GROTH t/a Penn Forest Services, by counsel,
and moves the Court for judgment against the Defendant, FERRANDINO & SON, INC., on the
grounds and in the amount stated herein and in support thereof and would show unto the Court as
follows:
COUNT 1: | BREACH OF CONTRACT
1. The Plaintiff is an individual trading as Penn Forest Services and is engaged in the

business of snow removal and maintenance services.

a The Defendant is a New York corporation and is a national facility maintenance
| company.
3. That the Defendant trades and does business on a regular basis in Virginia,

including but not limited to the various jobs contracted with the Plaintiff, but is not qualified to
do business in Virginia, nor registered with the Virginia State Corporation Commission.

4, The Plaintiff contracted with Defendant to provide snow removal services to
various sites in Virginia, including but not limited to (Food Lion, Toys R Us, Rite Aid,

_ Walgreens, Starbucks, Public Storage, BB&T, Target, and AMC).
GREENBERG

LAW FIRM 5, Plaintiff performed his service obligations to the Defendant.
541 Luck Avenue SW,
Suite 200
Roanoke, VA 24016 6. Defendant failed to pay the Plaintiff in full for the services provided.
foice: 540-345-
Fax: 540-342-8006

eww greenberglawfiem.com 7 Plaintiff has made demand on the Defendant for payment but Defendant has failed

nail@greenberglawhrm.com

and/or refused to pay.
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An accounting showing the balance due is attached hereto and labeled as Exhibit “A”.

An Affidavit in support of the present balance due and owing is attached hereto and
labeled as Exhibit “B”.

UNJUST ENRICHMENT

8 That the Defendant has been unjustly enriched by its receipt of and use of Plaintiff's
services. in the self-same amount as the bills subject of this cause and owes the Plaintiff the amount
sued for also under the theory of unjust enrichment.

9. That the Plaintiff pleads Unjust Enrichment as an alternative theory of recovery pursuant
to Rule 1:4 of the Rules of the Supreme Court of Virginia.

WHEREFORE, your Plaintiff, DANIEL GROTH t/a PENN FOREST SERVICES, moves
the Court for a Judgment against the Defendant, FERRANDINO & SON, INC., in the sum of
Eighty-Nine Thousand, Nine Hundred Fifty-Nine Dollars and 27/100 ($89,959.27), plus interest
at Six Percent (6%) per annum from May 25, 2018, plus its costs in this behalf expended.

Respectfully plead,

DANIEL GROTH t/a Penn Forest Services

 

 

Of Counsel

Richard L. Greenberg, Esq.
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Of Counsel to Plaintiff
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Daniel Groth t/a Penn Forest Services
c/o Greenberg Law Firm

P.O. Box 240

Roanoke, VA 24002

STATEMENT OF ACCOUNT

Ferrandino & Son, Inc.
1229 Chestnut Street #170
Philadelphia, PA 19107

Total Amount Due: $89,959.27
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STATE OF
CITY OF
Daniel Groth t/a Penn Forest Services )
)
Plaintiff ) AFFIDAVIT
)
Vv: ) Pursuant to Va. Code 8.01-28
)
Ferrandino & Son, Inc. )
)
Defendant )

BEFORE ME comes me ‘I én} | Goth . and having been duly sworn does depose and state as follows:

(1) He is
( ) Asole proprietor trading under Plaintiff's name;
( ) A partner in the Plaintiff partnership;
( ) An officer of the Plaintiff corporation and is in charge of or familiar with the books and records of

the Plaintiff:
( ) Attorney for Plaintiff:
(X) fl aurf

 

(2) The accompanying statement of account or invoice for:

( ) Goods sold and delivered

( ) Loan or deficiency balance

(X) Services rendered or labor performed

( ) Auto negligence/damages/subrogation

( ) Rents due

)

a a principal balance of 51,9594 7G and owing by the Defendant is true and correct and to the
best of Affiant’s belief is the amount of Plaintiff's claim.

(3) That Plaintiff claims interest at lo % APR. from 09/25} I6

4) That all credits, discounts, returns and/or payments have been accounted for, demand for payment had
been made, and the amount claimed is justly due Plaintiff.

 

 

By:
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ach 2A, Sholet+ . a Notary Public in, and for the State of liga a €CityyCounty of
Kona. aforesaid, do certify that “Da nie] Grain whose name is signed to the

 

writing above, bearing date on the St day of “Dysembef _, has sckagwiedged the same before me in my
City/County aforesaid. Given under my hand this $2 day of hecarrer~ 20 de

My Commission Expires: V6 5 S V7¢

   

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Expires June 80, 20

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My Commission

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Print Notary Stamp Here
